648 F.2d 446
    Mrs. Constance A. FENASCI et al., Plaintiffs-Appellees-CrossAppellants,Employers National Insurance Co., Intervenor-Appellee-Cross Appellant,v.TRAVELERS INSURANCE COMPANY, Defendant-Appellant-Cross Appellee.
    No. 79-3703.
    United States Court of Appeals,Fifth Circuit.
    
      Unit A
      June 18, 1981.
      Jones, Walker, Waechter, Poitevent, Carrere &amp; Denegre, John C. Combe, Jr., New Orleans, La., for Travelers Ins. Co.
      John Paul Massicot, New Orleans, La., for Constance A. Fenasci et al.
      Young &amp; Mars, W. W. Young, III, Theodore A. Mars, Jr., New Orleans, La., for Rita Breitling Cook et al.
      Monroe &amp; Lemann, Steven O. Medo, Jr., New Orleans, La., for Marie T. Bannon et al.
      Lemle, Kelleher, Kohlmeyer &amp; Matthews, Albert H. Hanemann, Jr., New Orleans, La., for Employers National Ins. Co.
      ON PETITION FOR REHEARING AND PETITION FOR REHEARING EN BANC
      (Opinion April 17, 1981, 5 Cir. 1981, 642 F.2d 986)
      Before BROWN, POLITZ and TATE, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant contends that in deciding the "stacking" issue adverse to it our decision, inter alia, ignores dispositive Louisiana jurisprudence, particularly the intermediate appellate court decision in Briley v. Falati, 367 So. 2d 1227 (La.App.1979).  We disagree.  In this diversity case we are to apply the law of Louisiana.  We conclude the decision relied on by the district court, Holmes v. Reliance Ins. Co., 359 So. 2d 1102 (La.App.1978), is controlling Louisiana law, more consistent with the rationale of decisions by the Louisiana Supreme Court, such as its decision in Deane v. McGee, 261 La. 686, 260 So. 2d 669 (1972) which we cited.  We do not agree that the decision in Briley v. Falati requires that we reject the trial court's allowance of "stacking" of uninsured motorist coverage.
    
    
      2
      The Petition for Rehearing is DENIED and no member of this panel nor Judge of this Administrative Unit in regular active service having requested that the Court be polled on rehearing en banc (Rule 35, Federal Rules of Appellate Procedure; Local Fifth Circuit Rule 16; Fifth Circuit Judicial Council Resolution of January 14, 1981), the suggestion for Rehearing En Banc is DENIED.
    
    